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Case 2:19-cr-00049-RMP ECF No. 18

Joseph H. Harrington

United States Attorney

Eastern District of Washington
Patrick J. Cashman

Assistant United States Attorney
Post Office Box 1494

Spokane, WA 99210-1494
Telephone: (509) 353-2767

filed 03/05/19 PagelD.56 Page 1 of 2

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UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,
Plaintiff,
v.
JAYDIN LEDFORD,

Defendant.

The Grand Jury charges:

 

2:19-CR-49-RMP
INDICTMENT

Vio: 18 U.S.C. § 2261A
Cyberstalking
(Count 1)

18:U.8.C. § 875(e)
Threats in Interstate
Communications
(Counts 2 - 3)

COUNT |

On or about February |, 2019, in the Eastern District of Washington, the

Defendant, JAYDIN LEDFORD, with the intent to kill, injure, harass, and

intimidate a person in the State of Washington, to wit: O.K., used facilities of

interstate or foreign commerce, including electronic mail and internet websites, to

engage in a course of conduct that placed O.K. in reasonable fear of death or

serious bodily injury, in violation of 18 U.S.C. § 2261A.

INDICTMENT - 1
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Case 2:19-cr-00049-RMP ECF No. 18 _ filed 03/05/19 PagelD.57 Page 2 of 2

COUNT 2
On or about February 1, 2019, in the Eastern District of Washington, the
Defendant, JAYDIN LEDFORD, knowingly and willfully did transmit in interstate
and foreign commerce, a threat to injure the person of another, to wit: the
Defendant stated, “[O.K.] is going to get a bullet in his skull,” or words to that

effect, in violation of 18 U.S.C. § 875(c).

COUNT 3
On or about February 2, 2019, in the Eastern District of Washington, the
Defendant, JAYDIN LEDFORD, knowingly and willfully did transmit in interstate
and foreign commerce, a threat to injure the person of another, to wit: the
Defendant stated “11639 is law. Sheriffs that are non complaint will be shot. By

me,” or words to that effect, in violation of 18 U.S.C. § 875(c).

DATED this .9 day of March, 2019.

A TRUE BILL

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Jdsepl H. Hayri igton /

| United States Attorney

 

 

atvick J. Cashman
sistant U.S. Attorney

INDICTMENT — 2

 

 
